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      From:        Nicola Sebastiani           i@apple.com)
      To:          Carson Oliver             r@apple.com)
      CC:
      BCC:
                   Mike Schmid       apple.com), Chip Canter            @apple.com)
                                                                                                                                   EXHIBIT 6840
      Subject:     Re: Google Play Pass, Apple Arcade will spar for mobile gamers — Quartz
      Attachments:
      Sent:        09/17/2019 07:51:24 PM 0000(GMT)

      I know nothing unfortunately.

      Nicola D. Sebastiani IApple Arcade https://developer.apple.com/apple-arcade/ 1                                     1

      Please send your testflight builds to this address


         On Sep 10, 2019, at 7:08 PM, Carson Oliver                      r@apple.com> wrote:

         H i Mike, Nicola, Chip

        Have you or your teams heard anything about Google Play Pass from any developers? (I'm guessing the target is primarily premium app developers, but that's not
        clear from the public info.) If so, can you send over any details you have?

        Thanks,
        Carson


           Begin forwarded message:

           From: Matt Fischer             r@apple.com>
           Subject: Google Play Pass, Apple Arcade will spar for mobile gamers — Quartz
           Date: September 10, 2019 at 2:44:37 PM PDT
           To: Phil Schiller       r@apple.com>, Eddy Cue      apple.com>, Alex Rofman                      @apple.com>, Jeff Robbin       @apple.com>, Jon Gieselman
                        @apple.com>, Ann Thai         @apple.com>, Carson Oliver                          r@apple.com>

           FYI

           Alex/Ann/Carson - please try to get some more details on this and let us know what you find.

           Thanks,
           Matt

           https://qz.com/1706533/google-play-pass-apple-arcade-will-spar-for-mobile-gamers/amp/?


           Google just confirmed its competitor to Apple Arcade
           Matthew De Silva       September 10, 2019




                                                                     Google Play
           REUTERS/Dado Ruvic

           Google Play Pass is "coming soon."


           While most of Silicon Valley drools over Apple's new gadgets, another tech giant is trying to make waves this week. The day before Apple's special event today
          (Sept. 10), Google coyly shared an update on Twitter.

           In an understated post, Google confirmed it was launching its own subscription service, Google Play Pass, an ad-free Android offering that includes games and
           other apps. It seems the pass will not require additional in-app purchases. XDA Developers first reported on rumors of Google Play Pass last year.

           Like Apple Arcade, it appears Google Play Pass will cost $4.99 per month.(At least, that's how much Google charged for the service during beta testing in July.)
           Although Google hasn't verified pricing or even revealed a launch date, the company's tweet included a new logo which shares a color scheme with Google Play,




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          the official Android app store. It's not clear how different Google's subscription service will be from Apple's offering, which features over 100 games from both
          prominent and indie games developers, many developed exclusively for Apple Arcade. Apple's new service launches Sept. 19.

          Google did not respond immediately to a request for comment.




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                                                                                                                                                     EXHIBIT 6840-002
